Case 5:21-cv-00880-XR Document 10-3 Filed 10/29/21 Page 1 of 3




               EXHIBIT C
          Case 5:21-cv-00880-XR Document 10-3 Filed 10/29/21 Page 2 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DMSION

11578243 CANADA, INC., D/B/A                         §
BLACKOXYGEN ORGANICS,                                §
BLACKOXYGEN ORGANICS USA, INC.,                      §
MARC SAINT-ONGE AND CARLO                            §
GARIBALDI,                                           §
                                                     §     CIVIL ACTION NO. 5:21-CV-00880-XR_ _ _ _
        Plaintiffs,                                  §
                                                     §
v.                                                   §
                                                     §
DAVID BYKOWSKI                                       §

        Defendant.


                          DECLARATION OF MARC SAINT-ONGE

         1.      My name is Marc Saint-Onge. My address is 3-80 Prestige Circle, Orleans,

 Ontario Canada K4A0Y1 and my date of birth is May 23, 1963. I have read this declaration and

 have personal knowledge of all facts set forth herein, which are true and correct.


         2.      I am the founder, owner and Chief Executive Officer of 11578243 Canada, Inc.

 d/b/a BlackOxygen Organics. I am also the founder and owner of Plaintiff BalckOxygen USA,

 Inc.   In this declaration, these entities are collectively referred to as the "BlackOxygen

 Organics". I am also one of the named Plaintiffs in the above matter. As the founder and owner

 of BlackOxygen Organics, I have personal knowledge regarding the internal affairs of the

 company and its current and former Brand Partners. I also have experience using and accessing

 various social media platforms, which is essential for the business ofBlackOxygen Organics.




 DECLARATION OF MARC SAINT-ONGE                                                          Page. l ~
            Case 5:21-cv-00880-XR Document 10-3 Filed 10/29/21 Page 3 of 3




       3.       Defendant is a former Brand Partner of BlackOxygen Organics. I have known

Defendant for over two years, and over that time, I have personal knowledge regarding

Defendant's email and personal social media accounts that.he regularly accesses and uses.


       4.       I am aware that Defendant accesses and uses the social media platform Facebook

under the profile name David Bykowski. I am aware that Defendant created a private group

page on Facebook called "Boo is Woo" and has also been actively posting on the Facebook

group page entitled "Boo-Seekers of the Truth." I am aware that Defendant has published posts

on both of these Facebook group pages since the inception of this lawsuit.


       5.       I am aware that Defendant uses the social media platform Linkedin and has

created a profile for himself under the name David Bykowski. I am aware that Defendant

continues to use and access his Linkedin profile.


       6.       I also have personal knowledge regarding Defendant's email account,

joindavesteam@gmail. com.      I have exchanged emails with Defendant under said address

numerous times. Upon information and belief, Defendant's gmail account is currently active.


       7.       Upon information or belief, Defendant remains active on his Facebook and

Linkedin social media accounts under his account name David Bykowski.


       8.       I declare under penalty of perjury that the information contained herein is within

my personal knowledge and is true and correct.


Executed on the 29th day of October, 2021 in Orleans, Ontario.




DECLARATION OF MARC SAINT-ONGE                                                              Page.2
